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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STATE OF ILLINOIS,

                       Plaintiff,

       v.

CITY OF CHICAGO,                                             Case No. 17 cv 06260
                                                             Honorable Robert M. Dow, Jr.
                       Defendants.



                                     NOTICE OF MOTION

        PLEASE TAKE NOTICE that on the Thrusday, November 1, 2018 at 9:15 a.m., we
shall appear before the Honorable Judge Robert M. Dow, Jr., in Room 2303 of the United States
District Court for the Northern District of Illinois at 219 S. Dearborn St., Chicago, Illinois 60604,
and then and there present Joint Motion to Substitute Written Comments Containing Non-
Public Information a true and correct copy of which is attached and hereby served upon you.

Dated: October 26, 2018                                     Respectfully submitted,

                                                            The City of Chicago


                                                            By: s/ Allan T. Slagel_______
                                                                   One of Its Attorneys

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